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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

FYF-JB, LLC,

                  Plaintiff,

      v.                                          Civil Action No. 1:19-cv-02608

PET FACTORY, INC.,                                Judge Thomas M. Durkin

                  Defendant.



               OPENING BRIEF OF DEFENDANT PET FACTORY, INC.
           IN SUPPORT OF OPPOSED MOTION TO DISMISS PURSUANT TO
                  FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
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I.       INTRODUCTION

         FYF-JB, LLC ("Plaintiff," or "FYF-JB") has filed suit against Pet Factory, Inc. ("Pet

Factory") alleging infringement of U.S. Patent 9,681,643 (the '643 Patent"). Dkt. No. 1. The

`643 Patent is the third patent from a common specification.' However, the '643 patent claims

are distinct from those of the first two patents in that they define the alleged invention in undue

breadth by what the tug toy does, not by the structure of what it is. In doing so the '643 Patent

claims are invalid as a matter of law for two reasons. First, the asserted claims are patent

ineligible under 35 U.S.C. § 101 by claiming a law of nature or natural phenomenon, namely

force and its direction, combined with generic long-known conventional features. Mayo

Collaborative Servs. v. Prometheus Labs., 132 S. Ct. 1289 (2012); Alice Corp. Pty. Ltd. v. CLS

Bank Intl, 134 S.Ct. 2347 (2014). Second, all claims of the '643 Patent are invalid under 35

U.S.C. § 112 ¶ 2 (the "regards as his invention" requirement)2 for undue claim scope

irreconcilable and inconsistent with the inventor's patent disclosure of a squeak tug toy requiring

"at least two gripping members" to be "pulled simultaneously" to generate its claimed forces and

activate a noisemaker. Each issue is a matter of law based on the asserted claims. Each issue is

case dispositive. For the reasons set forth in detail herein, Pet Factory respectfully requests that

the Court grant its motion to dismiss FYF-JB's Complaint with prejudice under Federal Rules of

Civil Procedure 12(b)(6).



  The asserted U.S. Patent 9,681,643, Dkt.1-1, is attached hereto as Motion Exhibit 1 (with
highlighting added). U.S. Patents 8,881,685 and 9,295,232 are, respectively, attached hereto as
Motion Exhibit 2 and Motion Exhibit 3. Only the asserted '643 Patent is the subject of the
present motion.

2 Section 4 of the Leahy-Smith America Invents Act (AIA) designated pre-AIA 35 U.S.C. § 112
   1 through 6, as 35 U.S.C. §§ 112(a) through (f), effective for patent applications filed on or
after September 16, 2012. Since the '643 Patent claims priority to an application filed March 10,
2010, this brief cites to the pre-AIA version of 35 U.S.C. § 112.

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II.     PROCEDURAL POSTURE AND LEGAL STANDARDS

        A.     This Case Should Be Assessed at the Pleading Stage Through Rule 12(b)(6).

        Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss a

complaint that fails to state a claim upon which relief can be granted. A complaint must contain

"enough facts to state a claim to relief that is plausible on its face." Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007).

        Although factual allegations are taken as true, legal conclusions are given no deference—

those matters are left for the court to decide. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). See

also, Bishop v. Air Line Pilots Ass'n, Intl, 900 F.3d 388, 397 (7th Cir. 2018). The Federal Circuit

has noted that even "[i]n ruling on a 12(b)(6) motion, a court need not accept as true 'allegations

that contradict matters properly subject to judicial notice or by exhibit,' such as the claims and

the patent specification." Secured Mail Sols. LLC v. Universal Wilde, Inc., 873 F.3d 905, 913

(Fed. Cir. 2017). The court must consider the complaint itself, documents attached to or critical

to the complaint and referred to in it, and information that is subject to proper judicial notice."

Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017, 1019-20 (7th Cir. 2013).

       "When the allegations in a complaint, however true, could not raise a claim of entitlement

to relief [as a matter of law], this basic deficiency should be exposed at the point of minimum

expenditure of time and money by the parties and the court." Bell Atl., 550 U.S. at 558.

"Addressing 35 U.S.C. § 101 at the outset not only conserves scarce judicial resources and spares

litigants the staggering costs associated with discovery and protracted claim construction

litigation, it also works to stem the tide of vexatious suits brought by the owners of vague and

overbroad [ ] patents." OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1364-65 (Fed. Cir.

2015) (Mayer, J., concurring) (citations omitted).




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         Patentability under 35 U.S.C. § 101 is a threshold legal issue. Alice, 134 S. Ct. at 2355.

"[P]atent eligibility can be determined at the Rule 12(b)(6) stage...when there are no factual

allegations that, taken as true, prevent resolving the eligibility question as a matter of law."

Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1125 (Fed. Cir. 2018). "In

considering patent eligibility under § 101, one must focus on the claims." Synopsys, Inc. v.

Mentor Graphics Corp., 839 F.3d 1138, 1149 (Fed. Cir. 2016) ("The § 101 inquiry must focus

on the language of the Asserted Claims themselves."); Dealertrack, Inc. v. Huber, 582 F.3d

1315, 1334 (Fed. Cir. 2012). There is no requirement that the district court engage in claim

construction before deciding § 101 eligibility." Ultramercial v. Hulu, LLC, 772 F.3d 709, 717

(Fed. Cir. 2014) (affirming grant of "pre-answer motion to dismiss under Rule 12(b)(6) without

formally construing the claims"); Cyberfone Sys., LLC v. CNN Interactive Grp, Inc., 558 Fed.

Appx. 988, 992 n.1 (Fed. Cir. 2014). Accordingly, the § 101 inquiry is properly raised on a

motion to dismiss under Rule 12(b)(6).3 Aatrix Software, 882 F.3d at 1125.

        B.      Patent Eligible Subject Matter.

        Patent protection is available for "any new and useful process, machine, manufacture, or

composition of matter, or any new and useful improvement thereof." 35 U.S.C. § 101. This

protection, however, is not without limits: the Supreme Court has "long held that this provision

contains an important implicit exception[:] Laws of nature, natural phenomena, and abstract

3 Courts routinely grant motions to dismiss for failure to claim patentable subject matter at the
pleading stage. See, e.g., SAP Am., Inc. v. InvestPic LLC, 890 F.3d 1016, 1023-24 (Fed. Cir.
2018); Voter Verified, Inc. v. Election Sys. & Software LLC, 887 F.3d 1376, 1385-86 (Fed. Cir.
2018); Maxon, LLC v. Funai Corp., Inc., 726 Fed. Appx. 797, 798 (Fed. Cir. 2018); Two-Way
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ideas are not patentable." Ass'n for Molecular Pathology v. Myriad Genetics, Inc., 133 S.Ct.

2107, 2116 (2013) (quoting Mayo, 132 S. Ct. at 1293). See also, Alice, 134 S. Ct. at 2347

(collecting cases). This prevents patentees from monopolizing "the basic tools of scientific and

technological work." Mayo, 132 S. Ct. at 1292.

       "Under the two-part test described by the Supreme Court in Mayo and Alice, "[w]e must

first determine whether the claims at issue are directed to a patent-ineligible concept," here a law

of nature or physical phenomenon (force and its direction expressible as the mathematical

formula F --= m•a, force equals mass times acceleration). Alice, 134 S.Ct. at 2355. At step one,

"the court examines 'the focus of the claimed advance over the prior art' to determine if the

character of the claim as a whole, considered in light of the specification, is directed to excluded

subject matter." Trading Techs. Ini?, Inc. v. IBG LLC, 921 F.3d 1084, 1092 (Fed. Cir. 2019)

(quoting Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1338 (Fed. Cir.

2017). Also, the "prohibition against patenting [ineligible subject matter] cannot be

circumvented by attempting to limit [its] use to a particular technological environment." Alice,

134 S.Ct. at 2358; Berkheimer v. HP Inc., 881 F.3d 1360, 1367 (Fed. Cir. 2018); Intellectual

Ventures I, 850 F.3d at 1340.

       If the claims are directed to excluded subject matter, we must then "consider the elements

of each claim both individually and 'as an ordered combination' to determine whether the

additional elements 'transform the nature of the claim' into a patent-eligible application." Alice,

134 S. Ct. at 2355. This involves the "search for an 'inventive concept' — i.e., an element or

combination of elements that is 'sufficient to ensure that the patent in practice amounts to

significantly more than a patent upon the [ineligible concept] itself.'" Id. When, as here, any

additional elements beyond the excluded subject matter consist of "well-understood, routine,



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conventional activit[ies] previously known to the industry," the patent claims are not patent-

eligible. ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 773 (2019); Berkheimer, 881

F.3d at 1367. Also, any inventive concept provided by additional features beyond the ineligible

concept must be "captured" in the subject patent claim. Berkheimer, 881 F.3d at 1369-70;

Recognicorp, LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017) ("To save a patent at

step two, an inventive concept must be evident in the claims.").

III.    ARGUMENT

        A.      Mayo /Alice Step One: The '643 Patent Claims Are Directed to Excluded
                Matter.

                1.      The Claims Claim Force and Its Direction, a Law of Nature.

        The '643 Patent independent Claims 1 and 12 are representative of the ineligible subject

matter of all its claims:

        1. A tug toy comprising:

        at least one gripping member and a central portion,
        wherein said at least one gripping member is attached to said central portion, and wherein
        said central portion further includes a noise maker,
        wherein said at least one gripping member is adapted to transmit force to said central
        portion and
        wherein said force comprises a first lateral force directed away from the central
        portion in the direction of a first gripping member.

        12. A tug toy capable of being gripped by a pet, said tug toy comprising:

       a central portion;
       at least one means for gripping said tug toy, attached to said central portion;
       means for making noise retained in said central portion; and means for activating said
       means for making noise,
       wherein the at least one means for gripping is located adjacent the central portion such
       that the means for activating said means for making noise activates the means for making
       noise when force is applied to the at least one means for gripping along a first plane
       of said central portion in a direction away from said central portion.

       (emphasis added wherein bold red print indicates ineligible subject matter and
       highlighted print indicates additional features that are "well-understood, routine,
       conventional activities previously known to the industry")

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         What all claims of the '643 Patent have in common is that they (1) claim a tug toy by

what it functionally does, not by what it is, (2) are directed to a law of nature, namely force and

its direction, and (3) recite, other than the patent ineligible subject matter of force and its

direction, additional features which are "well-understood, routine, conventional activities

previously known to the industry", namely a "gripping member," a "central portion," and a

"noisemaker," directly or as "means for" elements.

         But the claimed "force" and its "direction" is known by the history of human experience.

The axial force of the asserted tug toy patent claims is largely the physics of tension, a pulling

force transmitted axially by the means of a string, cable, chain, or similar one-dimensional

continuous object, such as in "tug of war4" which goes back to "at least 8th century BC to 5th

century BC" to train warriors. See hftps://en.m.wikipedia.org/wiki/Tug of war.

         Basic physics teaches force is a push or pull that causes an object to move faster or

slower, stop, change direction, or change size or shape. Indeed, without force, nothing would

ever move. Force is the cause of motion. All forces have a magnitude (size) and direction. Force

is a vector quantity. Force has long been measured. The SI unit of force is the Newton (N). Other

units of force include the dyne, kilogram-force (kilopond), poundal, and pound-force. Force

cannot be seen but it can be judged by the effects which it produces in various bodies around us.

Force is the foundation for classical (Newtonian) mechanics and its branch of dynamics. The

state of any object can be changed by applying external force (sec Newton's First Law of

Motion). Force is used in our everyday actions like pushing, pulling, lifting, stretching, twisting

and pressing. Force is a fundamental law of nature, a natural phenomenon expressible as the

4 Tug of war (also known as tug o' war, tug war, rope war, rope pulling, or tugging war) is a sport
that pits two teams against each other in a test of strength: teams pull on opposite ends of a rope,
with the goal being to bring the rope a certain distance in one direction against the force of the
opposing team's pull.


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mathematical equation F = m• a (force = mass x acceleration, see Newton's Second Law of

Motion). See https://www.brown.edunDepartments/Engineering/Courses/En4/NotesiForces,pdf.

        This court can take judicial notice of the foregoing character of "force" for purposes of

this Rule 12(b)(6) motion. Gen. Electric Capital Corp. v. Lease Resolution Corp., 128 F.3d

1074, 1081 (7th Cir. 1997); Doherty v. City of Chicago, 75 F.3d 318, 325 n. 4 (7th Cir. 1996);

Fed.R.Evid. 201(b) (judicial notice appropriate when the "fact must be one not subject to

reasonable dispute in that it is either (1) generally known within the territorial jurisdiction of the

trial court or (2) capable of accurate and ready determination by resort to sources whose

accuracy cannot reasonably be questioned." Force is a universal truth of this world.

               2.      The Claims Are Written to Excluded Subject Matter.

       The first step in the Alice test is to examine the fundamental concept of the claim and

determine whether the claim as a whole is directed to excluded subject matter. Internet Patents

Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015) ("Under step one of

Mayo/Alice, the claims are considered in their entirety to ascertain whether their character as a

whole is directed to excluded subject matter.") "We look to whether the claims in the patent

focus on a specific means or method, or are instead directed to a result or effect that itself is the

[excluded subject matter] and merely invokes generic processes and machinery." Two-Way

Media Ltd. v. Comcast Cable Communications, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017).

While the Court should be careful not to "oversimplify the claims" at this stage of the analysis,

In re TLI Comm'ns LLC, 823 F.3d 607, 611 (Fed. Cir. 2016), the analysis should not focus on

excess verbiage or implementation details, but instead focus on the "concept embodied by the

majority of the limitations." Ultramercial, 772 F.3d at 715 (Fed. Cir. 2014); see also Affinity

Labs of Texas, LLC v. DIRECTV, LLC, 838 F.3d 1253, 1256 (Fed. Cir. 2016) (examining claim

after being "stripped of excess verbiage").

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         Independent Claims 1 and 12 herein, as written, are directed to a law of nature - force and

its direction. All other dependent claims of the '643 Patent involve the same judicial exception to

patent eligible subject matter as they are directly or indirectly dependent on representative

Claims 1 and 12. Moreover, several of the dependent claims recite further limitations of force

such as in dependent Claims 2 ("wherein said central portion is adapted to receive force

transmitted from the at least one gripping member and wherein said force activates the noise

maker"), 4, 7, and 11 ("wherein said force activates the noisemaker by compression"), and 10

("wherein said force additionally comprises a second lateral force directed away from the central

portion in the direction of the second gripping member"). Claims 12 to 15 fare no better as the

Claim 1 features are changed to "means for" elements subject to the same ineligible limitations.

         The independent claims define the invention by the "force" of its "adapted to" and

"wherein" functionality, and not by structure defining how to achieve the functionality. The

language of "a gripping member," a "central portion," and "noise maker"5 as used in the claims

are "nonce" terms.6 The claims use such sweeping terminology in a nondescript sense for their

function devoid of the necessary specifically defined structure to achieve desired results. The

same can be said of other structural features of the dependent claims, such as a squeak valve

(Claim 3), a retainer (Claim 5, 6), a cover (Claim 8), a second gripping member (Claim 9, 10) or

their "means for" recasting (Claim 13 to 15) as all are long-known conventional structure added

without recitation of how they relate to or achieve the "adapted to" or "wherein" functionality.


5The patent application itself admits that "Noise makers, such as squeak toys are known." Mtn.
Ex.1, '643 Patent at Co1.1, line 26.
6 The Federal Circuit has held that using nonce words is often "tantamount to using the word
`means' because [these words] 'typically do not connote sufficiently definite structure' and
therefore may invoke § 112, para. 6." Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1350
(Fed. Cir. 2015) ("distributed learning control module" did not connote a sufficiently definite
structure).


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        At best, the claims of the '643 Patent attempts to limit a law of nature to the particular

environment of a tug toy. 7 Other than the ineligible subject matter, the asserted claims merely

describe, at a generalized high level, long-known conventional structure of a "gripping member,"

a "central portion," and a "noisemaker" (or their "means for" recasting) as field of use features

rather than defining the necessary particular structure or way to achieve the "adapted to" or

"wherein" functionality. See, e.g., In re TLI Comm 'ns LLC, 823 F.3d at 610-611 (finding claims

abstract where "the specification makes clear that the recited physical components merely

provide a generic environment in which to carry out the abstract idea"). Limiting the invention to

a technological environment — here a tug toy of skeletal conventional features — does "not make

an abstract concept any less abstract under step one." Berkheimer, 881 F.3d at 1367; Intellectual

Ventures I, 850 F.3d at 1340.

       B.      Mayo /Alice Step Two: The '643 Patent Claims Fail to Recite an Inventive
               Concept Captured by the Claims.

       At Mayo / Alice step two, a court considers the elements of the claim, both individually

and as an ordered combination, to assess whether the additional elements transform the nature of

the claim into a patent-eligible application of the judicial exception. Content Extraction &

Transmission LLC v. Wells Fargo Bank, 776 F.3d 1343, 1347 (Fed. Cir. 2014). To save a patent

at step two, an inventive concept must be evident in the claims. RecogniCorp, LLC v. Nintendo

Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017). The claim limitations must disclose additional

features indicating more than the performance of `well-understood, routine, [and] conventional

activities previously known to the industry." Content Extraction, 776 F.3d at 1347-48 (quoting

Alice, 134 S. Ct. at 2359). It is "well-settled that mere recitation of concrete, tangible

7 The Federal Circuit has repeatedly emphasized the need to focus on the claimed subject matter
in the patentability analysis. See, e.g., Berkheimer, 881 F.3d at 1369-70; Intellectual Ventures I
LLC v. Symantec Corp., 838 F.3d 1307, 1321-22 (Fed. Cir. 2016).


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components is insufficient to confer patent eligibility to [ ] otherwise [excluded subject matter]"

where those components simply perform their "well-understood, routine, conventional"

functions. In re TLI Communications, 823 F.3d at 611. The limitations must "narrow, confine, or

otherwise tie down the claim so that, in practical terms, it does not cover the [ineligible subject

matter] itself. Cyberfone, 558 Fed. Appx. at 992 (quoting Accenture Global Servs., GmbH v.

Guided Software, Inc., 728 F.3d 1336, 1341 (Fed. Cir. 2013)).

               1.     All Additional Claim Limitations Are Conventional.

       The second step of the Alice analysis (the search for an "inventive concept") asks whether

the claim contains an element or combination of elements that ensures that the patent in practice

amounts to significantly more than a patent upon the ineligible subject matter itself. Alice, 134

S.Ct. at 2355. This includes consideration of whether claim elements "simply recite 'well-

understood, routine, conventional activit[ies].' " Alice, 134 S.Ct. at 2359. "Simply appending

conventional steps, specified at a high level of generality, [is] not enough to supply an inventive

concept." Alice, 134 S.Ct. at 2357 (internal quotation marks omitted) (emphasis in original).

       The '643 Patent fails Mayo / Alice step two because the asserted claims merely instruct

implementing a law of nature in the environment of a tug toy with all additional claim limitations

beyond the law of nature written so broadly as to embrace "well-understood, routine,

conventional activity already engaged in by the scientific community." A "gripping member," a

"central portion," and a "noisemaker" are nondescript generalized components with a breadth of

scope encompassing truly ancient things. The '643 Patent admits "[n]oise makers such as squeak

toys are known." Mtn. Ex.1, '643 Patent at Col.1, line 26. The additional claim limitations do not

supply an inventive concept.

       All dependent claims in the '643 Patent build upon, but do not vary significantly from the

tug toy described in independent Claims 1 and 12. All asserted claims of the '643 Patent share a

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commonality of format in that the "toy" is defined by structurally neutral skeletal claim elements

of commonplace ancient components (a "gripping member", a "central portion", and a

"noisemaker" or their "means for" re-castings) to accomplish the functions of the defined

"adapted to" or "wherein" clauses directed to intangible axial force. Recitals in the dependent

claims of a squeak valve (Claim 3), a retainer (Claim 5, 6, 15), a cover (Claim 8), and a second

or third gripping member (Claim 9, 10, 13, 14) are also long-known conventional structure that

fail to specify how the recited "adapted to" or "wherein" outcomes are accomplished.

       The claims do not define how to overcome a technical problem. They introduce no new,

unconventional, or improved components. It is significant the patentee did not invent a gripping

member, a central portion, or noisemakers. Such items, as well as valves, retainers, covers, and a

second or third gripping members are among the "well-known" concepts that "humans have

always performed." Content Extraction, 776 F.3d at 1347. There is no structure claimed that is

unconventional.

       The asserted claims at issue here are much more structurally austere than the claiming of

ineligible force in a recent case having a more complex mechanical environment. In American

Axle & Manufacturing, Inc. v. Neapco Holdings LLC, 309 F.Supp.3d 218 (D. Del. 2018), patent

claims generally related to shaft assemblies for transmitting rotary power in a driveline (and

more particularly to a method for attenuating driveline vibrations transmitted through a shaft

assembly) were held to be directed to a patent ineligible law of nature and did not supply

inventive concept. The claims were applications of Hooke's law — the linear relationship

between force F and displacement x of a spring with stiffness k, specifically F=kx — with the

result of friction damping, and the claims failed to instruct how to design the tuned liners or

manufacture the driveline system to attenuate vibrations. Id. at 225. Rather, the asserted claims



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simply instruct one to apply Hooke's law to achieve the desired result of attenuating certain

vibration modes and frequencies. They provided no particular means of how to craft the liner and

propshaft in order to do so. Id. at 228.

        In essence, the asserted claims attempt to characterize the physics behind tug of war

applied to a noisemaker without recitals "captured" in the claims of how specific structure

activates the noisemaker. Berkheimer, 881 F.3d at 1369-70. When, as here, additional elements

beyond the excluded subject matter consist of "well-understood, routine, conventional activity

already engaged in by those in the field," they are insufficient to provide an inventive concept.

Mayo, 566 U.S. at 82, 132 S.Ct. 1289. See also, Ariosa Diagnostics, Inc. v. Sequenom, Inc., 788

F.3d 1371, 1378 (Fed. Cir. 2015) ("[A]ppending routine, conventional steps to a natural

phenomenon, specified at a high level of generality, is not enough to supply an inventive

concept.") "[C]laims, defining a desirable [ ] result and not limited to inventive means of

achieving the result, fail under § 101." Electric Power Grp., LLC v. Alstom S.A., 830 F.3d 1350,

1351 (Fed. Cir. 2016).

               2.        The Claims Fail to Provide an Inventive Concept as an Ordered
                         Combination.

        The asserted claims taken as an "ordered combination" fail to provide an "inventive

concept" because they "add nothing significantly beyond the sum of their parts separately."

Mayo, 566 U.S. at 79-70. As a combination, no problem is solved or technical improvement

made. The additional features in sum are no greater than their parts: they define only a desirable

outcome of intangible axial force without inventive structure specifying how to achieve the

same.




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        C.      The Claims Are Invalid Under 35 U.S.C. § 112 ¶ 2.

        Another independent basis for the present motion to dismiss is all claims of the '643

Patent have undue breadth and are invalid as a matter of law for failing to comply with the

"regards as his invention" requirement of 35 U.S.C. § 112 ¶ 2.8

        35 U.S.C. § 112 ¶ 2 states "[t]he specification shall conclude with one or more claims

particularly pointing out and distinctly claiming the subject matter which the applicant regards as

his invention." It contains two requirements: "first, [the claim] must set forth what the applicant

regards as his invention and second, it must do so with sufficient particularity and distinctness,

i.e., the claim must be sufficiently definite." Allen Eng'g Corp. v. Bartell Indus., Inc., 299 F.3d

1336, 1344 (Fed. Cir. 2002); Solomon v. Kimberly-Clark Corp., 216 F.3d 1372, 1377 (Fed. Cir.

2000). A determination of whether a claim recites the subject matter which the applicant regards

as his invention is a question of law. Allen Eng'g, 299 F.3d at 1349.

        "A claim is invalid under the first prong of 35 U.S.C. § 112 ¶ 2, when one of skill in the

relevant art, reading the specification would not understand the invention set forth in a claim is

what the patentee regarded as his invention." Id.; see also, Juxtacomm-Texas Software, LLC v.

Axway, Inc., No. 6:10-cv-0011, 2012 WL 7637197 at *4 (E.D. Tex. July 5, 2012) aff d

Juxtacomm-Texas Software, LLC v. Tibco Software, Inc., 532 Fed.Appx. 911, 912 (Fed. Cir.

2013). "[T]here must be a showing of a logical inconsistency or contradiction between the claims

and the specification." Id. at *8.

       Here, there is an irreconcilable contradiction between the over-broad claims of the '643

Patent and its specification. Claims 1 to 8 and 12 of the '643 Patent require only one gripping


8 The "regards as his invention" requirement is the sole § 112 issue raised in this motion. All
other § 112 issues, such as, for example, "written description," "enablement," and
"indefiniteness," are expressly reserved.


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member (i.e., "at least one gripping member"). Yet the abstract and 5 column specification of the

`643 Patent consistently describes the invention in terms of "at least two gripping members" (16

times) or as a "first •gripping member" and a "second gripping member" (20 times). See Mtn. Ex.

1, the '643 Patent at highlighted portions. All drawing figures, FIG. 1 to 8, show 2 or 3 gripping

members. Nowhere does the '643 Patent teach a squeak tug toy of only one gripping member.

The '643 Patent does not disclose that a one gripping member tug toy generates the claimed

force and its direction or makes a noise. Indeed, at Col. 3, line 61 to Col. 4, line 4, the inventor

expressly and unequivocally teaches otherwise:

                When the first gripping member 2 and the second gripping member 3 are
               pulled simultaneously, as shown in FIG. 5, the first strap 6 and the second
               strap 7 may compress the noise maker 9, which then emits a sound. The
               sound may be a high-pitched sound such as a squeak. After the first
               gripping member 2 or the second gripping member 3 is released or
               brought closing to one another, the noise maker 9 may decompress, inflate
               with air, and emit a similar high-pitched sound. The operation of
               compression and decompression of the noise maker 9 may also include the
               third gripping member 10. (italic emphasis added)

       To make sound, there must first be a simultaneous pulling of two gripping members. Yet,

Claims 1 to 8 and 12 requiring "at least one gripping member" do not correspond in scope with

what the inventor regards as his invention. There is logical inconsistency or contradiction

between the undue breadth of such claims requiring only one gripping member and their

specification. Juxtacomm-Texas Software, 2012 WL 7637197 at *8.

       Dependent lug toy Claims 9 to 11 (adding a "second gripping member") still have undue

breath contradicting what the inventor regards as his invention because although a second

gripping member is introduced there is no recital of how the forces recited therein are generated,

or how "activat[ion of] the noisemaker" is achieved. Also no first strap 6 and second strap 7 are

claimed. The invention disclosure as taught by the inventor provides that the forces and its



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direction and the activation of the noise maker only occur when both first and second gripping

members are pulled simultaneously for the two straps to compress the noise maker. Yet the

necessary simultaneous pulling and the straps are not found in Claims 9 to 11. The claims do not

correspond in scope to what the inventor regards as his invention because they merely reference

the "force" and its direction involved in the tug toy (base Claim 1) and the fact that "said force

activates the noise maker" (Claim 2) without specifying how the force is generated or how

activation of the noise maker is accomplished.

         Similarly, the tug toy "means for" dependent Claims 13 to 15 ("wherein said at least one

means for gripping comprises first and second means for gripping" or first, second and "third

means for gripping") suffer the same infirmity of undue breath contradicting what the inventor

regards as his invention. Claims 13 to 15 include all limitations of their base Claim 12, which, in

part, requires "the means for activating the means for making noise" so "activates...when force

is applied to the at least one means for gripping along a first plane of said central portion away

from said central portion." Yet this excises out the necessary condition that both first and second

"means for gripping" must be pulled simultaneously for the straps to accomplish activation of

noise.

         There is irreconcilable discordance and logical inconsistency between the clear import of

inventor's patent disclosure of how forces are generated and how noise activation occurs and the

non-corresponding expanded scope of the '643 Patent claims. Accordingly, as a matter of law,

all claims of the '643 Patent should be held invalid under the "regards as his invention"

requirement of 35 U.S.C. § 112 ¶ 2.

IV.      CONCLUSION

         For the foregoing reasons, Pet Factory respectfully requests the Court grant its motion to

dismiss the Complaint with prejudice.

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Dated: July 2, 2019                   Respectfully submitted,

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